  8:09-cr-00014-JFB-FG3      Doc # 30     Filed: 02/18/09   Page 1 of 1 - Page ID # 56




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                    Plaintiff,              )
                                            )                   8:09CR14
      vs.                                   )
                                            )                    ORDER
VIRGINIA RAMIREZ-MELENDEZ,                  )
                                            )
                    Defendant.              )


       This matter is before the court on the defendant's Motion to Extend Pretrial Motion
Deadline [29] for the reason that counsel needs additional time to review discovery. The
record shows that discovery materials were served as of February 6, 2009, see Filing No.
25, and the two codefendants were able to timely file pretrial motions. I find that the
defendant has not shown good cause for the requested continuance. Nor has the
defendant filed an affidavit or declaration regarding speedy trial, as required by NECrimR
12.1 and/or 12.3. For these reasons,

      IT IS ORDERED that the defendant's Motion [29] is denied.

      Pursuant to NECrimR 57.2, a party may appeal this order by filing an "Appeal of
Magistrate Judge's Order" within five (5) business days.

      DATED February 18, 2009.

                                         BY THE COURT:

                                         s/ F.A. Gossett
                                         United States Magistrate Judge
